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                                               United States District Court
                                               Southern District of Texas
                                                    Victoria Division
          STATE OF TEXAS, et al.,
             Plaintiffs,
          v.
          U.S. DEPARTMENT OF HOMELAND SECURITY, et                        Case 6:23-cv-00007
            al.,
             Defendants.




                                                 TRIAL WITNESS LIST

                    Defendants do not intent to call any live witnesses at trial. Instead, per the below,

          Defendants proffer the Declarations of Blas Nuñez-Neto in lieu of direct testimony. Defendants

          reserve their right to call rebuttal witnesses.


                                      TRIAL EXHIBITLIST OF DEFENDANTS1

    No.                      Description                    Offer        Object           Date            Date
                                                                                          Admit          N/Adm

A              Administrative Record, Cuba
               AR_000001-001742, ECF No. 92

B              Administrative Record, Haiti
               AR_000001-001999, ECF No. 93
C              Administrative Record, Nicaragua
               AR_000001-001777, ECF No. 94
D              Administrative Record, Venezuela
               000001-1405, ECF No. 95
E              Statistics by Nationality, Bates 23-cv-
               0007_0145-50



          1
            Defendants reserve their right to use any Exhibit listed by Plaintiffs or Intervenor-Defendants on
          their respective Exhibit Lists.
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F       Supplemental data to be produced at
        the request of Plaintiffs2

G       Unauthorized Immigrants Encountered
        by USBP at Southwest Border by Select
        Nationality: October 18, 2022-March
        31, 2023 and January 6, 2022-March 31,
        2023, Chart produced in response to
        Interrogatory No. 6, dated May 19, 2023
H       CHNV Parole Process by Month and
        Status, October 18, 2022-March 31,
        2023, and January 6, 2023-March 31,
        2023, Chart produced in response to
        Interrogatory No. 1, dated May 19, 2023
I       I-765 Application for Employment
        Authorization for CHNV Approvals
        and Denials by year and month through
        March 2023, Chart produced in
        response to Interrogatory No. 1, dated
        May 19, 2023
J       Average Processing Time Chart,
        Produced in response to Interrogatory
        No. 2, dated May 19, 2023
K       CHNV Process Amendment
        Guidance to IRIS Reviewers, Bates 23-
        cv-0007_0177-178
L       CHNV Parole Processes
        Change in Form I-134A, Bates 23-cv-
        0007_0179-187
M       Texas’ Responses to Defendants’
        Discovery Requests, dated May 19,
        2023
N       Texas’ [Corrected] Response to
        Defendants’ Discovery Requests, dated
        May 23, 2023



    2
      Plaintiffs requested supplemental data covering the period post-dating Defendants’ document
    production. Upon agreement by the parties, Defendants will provide such data and hereby
    incorporate by reference as an exhibit the data to be produced after such data through the month
    of June is processed.
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O         Texas’ Updated Response to
          Defendants’ Discovery Requests, dated
          June 30, 2023
P         Tweet from Governor Abbott, dated
          August 8, 2022, ECF 175-45, pg. 1
Q         Texas Office of the Governor, “Top
          Texas Touts: People,” ECF 175-47

R         Texas Department of Public Safety
          Drive License Fees,
          https://www.dps.texas.gov/section/driv
          er-license/driver-license-fees
S         Contract Amendment, Texas_00002

Historical Public Laws, Regulations, and Federal Register Notices That May Be Relied Upon3

T         Fair Share Refugee Act of July 14,
          1960, U.S. Citizenship and
          Immigration Services, P.L. 86-648
U         Hong Kong Parole Program, P.L. 95-
          412
V         Haitian Family Reunification Parole 79
          FR 75581
W         Uniting for Ukraine Parole Process, 87
          FR 25040; P.L. 117-128, sec. 401
X         Orderly Departure Vietnam Parole
          Program, 1980-1999 (Vietnamese
          nationals), chrome-
          extension://efaidnbmnnnibpcajpcglclef
          indmkaj/https://www.gao.gov/assets/ns
          iad-90-137.pdf
Y         Moscow Lautenberg Parole Program,
          (religious minorities from the former
          Soviet Union, Estonia, Latvia, or
          Lithuania), P.L. 101-167
Z         Iraqi Kurds program, 1996-97, P.L.

      3
       Defendants do not believe that it is necessary to include historical public laws and regulations as
      “exhibits,” but so do in an abundance of caution and as a courtesy to give Plaintiffs notice that
      such public laws and regulations may be relied upon during argument by Defendants.
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          105–277, at 112 STAT 2681-75

AA        Visa Waiver Program, April–October
          2000, 8 U.S.C. § 1187
BB        Haitian Orphan Parole Program,
          January–April 2001, P.L. 111-293
CC        Cuban Family Reunification Parole
          Program, 2007–present, 72 FR 65588
DD        Cuban Medical Professional Program,
          2006–2013, https://2009-
          2017.state.gov/p/wha/rls/fs/2009/1154
          14.htm
EE        Cuban Attached Family Members of
          Refugees program, 2007–2014,
          https://cu.usembassy.gov/visas/immigr
          ant-visas/cuban-parole-programs/cfrp-
          program/
FF        CNMI and Guam Parole Programs,
          2009 – present, 84 FR 46029-46031
GG        Cuban Adjustment Act, P.L. 89-732

Declarations to be Offered in Lieu of Direct Testimony Per Parties’ Stipulation

HH        Declaration of Blas Nuñez-Neto, dated
          June 20, 2023, ECF 176-1
II        Supplemental declaration of Blas
          Nuñez-Neto4




      4
        Plaintiffs requested supplemental data covering the period post-dating Defendants’ document
      production. Upon agreement by the parties, Defendants will provide such data with a supplemental
      declaration from Mr. Nuñez-Neto.
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